             Case 5:17-cv-01608-AKK Document 13 Filed 11/07/17 Page 1 of 5                              FILED
                                                                                               2017 Nov-07 PM 03:30
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHEASTERN DIVISION

AMBERLY FORTENBERRY,                                )
                                                    )
        PLAINTIFF,                                  )
                                                    )
v.                                                  )     CASE NO.: 5:17-CV-01608-HNJ
                                                    )
GEMSTONE FOODS, LLC; RCF, LLC,                      )
                                                    )
        DEFENDANTS.                                 )

                                            COMPLAINT

        Plaintiff, Amberly Fortenberry, complains of Defendants, stating as follows:

                                        Nature of the Action

        1.       This is a civil action brought by Plaintiff under the Equal Pay Act.

                                       Jurisdiction and Venue

        2.       This action arises under 29 U.S.C. § 206(d). The Court has jurisdiction of this

matter pursuant to 28 U.S.C. § 1331 because it involves a federal question.

        3.       This judicial district is an appropriate venue under 28 U.S.C. § 1391(b)(2) because

a substantial part of the events giving rise to the suit happened in this judicial district.

                                                Parties

        4.       The Plaintiff, Amberly Fortenberry, is an individual adult of sound mind and is

domiciled in Morgan County, Alabama.

        5.       Defendant, Gemstone Foods, LLC, is a private for-profit foreign limited liability

company organized under the laws of the State of Mississippi and at all times material hereto, was

qualified to do business in Alabama, and did business by operating a poultry processing facility at

641 Holly Street NE, in Decatur, Morgan County, Alabama.

                                                   1
             Case 5:17-cv-01608-AKK Document 13 Filed 11/07/17 Page 2 of 5


        6.       Defendant, RCF LLC, is a private for-profit foreign limited liability company

organized under the laws of the State of Mississippi and at all times material hereto, was qualified

to do business in Alabama, and did business by operating a poultry processing facility at 641 Holly

Street NE, in Decatur, Morgan County, Alabama.

                                               Facts

        7.       Amberly Fortenberry is female.

        8.       Fortenberry began working for Gemstone Foods, LLC, or RFC, LLC in January

2015.

        9.       Fortenberry was quickly promoted to Purchasing Manager, a salaried position, in

February, 2015, due to her outstanding job performance.

        10.      Fortenberry was the only female manager at RFC outside of the human resources

department.

        11.      In addition to their regular hours during the work week, Managers were frequently

required to work weekends.

        12.      At all times while Fortenberry was employed by RFC, male managers received pay

for the time they worked on weekends.

        13.      At all times while Fortenberry was employed by RFC, she did not receive pay for

the time she worked on weekends.

        14.      Fortenberry learned that male managers were receiving pay for weekend work and

on July 30th, 2017, she requested to be paid for the time she had worked on weekends.

        15.      RFC’s Plant Manager, Jordan Scott, denied her request and told her that the

weekend pay “program” was being phased out.

        16.      RFC’s office in Decatur had an atmosphere of disdain for female employees.

                                                  2
          Case 5:17-cv-01608-AKK Document 13 Filed 11/07/17 Page 3 of 5


        17.     During Fortenberry’s tenure, RFC’s Controller, Gil Moats, told her as she bent over

to pick something up from the floor, that she should be careful not to fall over because she was

“top heavy,” referring to her breasts.

        18.     On another occasion, Moats announced to the entire office staff that the cause of a

computer virus was Fortenberry’s visit to a pornography website called “want to fuck dot com.”

Moats then laughed at the false statement while Fortenberry was embarrassed.

        19.     Fortenberry resigned her employment with RFC on August 1st, 2017.

        20.     On August 2nd, 2017, RFC Plant Manager, Jordan Scott, presented Fortenberry with

a written offer of the equivalent of 4 weeks’ pay, less payroll deductions and withholding, in

exchange for a release of all claims against RFC, confidentiality, and an agreement not to saying

anything bad about Gemstone, among other terms.

        21.     Fortenberry refused to sign the release and was not paid.

        22.     During the entire time she worked at RFC, Fortenberry had no disciplinary action

taken against her.

                                      Count I – Equal Pay Act

        23.     At all times relevant to the allegations in this Complaint, Plaintiff was an employee

engaged in commerce entitled to the protection of the EPA.

        24.     At all times relevant to the allegations in this Complaint, Defendants were

employers subject to the EPA’s provisions.

        25.     Plaintiff is female and worked in a Manager position with the Defendants.

        26.     Male Managers also worked in the same place of business for the Defendants.

        27.     The work that the Plaintiff and the male managers do required substantially similar

skill, effort and responsibilities.

                                                  3
          Case 5:17-cv-01608-AKK Document 13 Filed 11/07/17 Page 4 of 5


        28.      The work that the Plaintiff and the male Managers did was performed under similar

working conditions.

        29.      The male Managers who worked for the Defendants were paid a higher wage than

the Plaintiff.

        30.      The reason that the male Managers were paid a higher wage was due to their gender.

        31.      The refusal to pay the Plaintiff an equal wage was willful.

        32.      The conduct of Defendants proximately caused injury and damage to Plaintiff,

including the following:

        33.      Plaintiff was caused to lose wages and other benefits.

                                                Relief Sought

        34.      As relief, Plaintiff seeks compensatory damages, back pay, an equal amount as

liquidated damages, prejudgment interest and post-judgment interest at the highest rates allowed

by law, reasonable attorney’s fees, costs expert witness fees, an amount to compensate Plaintiff

for any adverse tax consequences as a result of a favorable judgment, and such other relief to which

she may be entitled.

                                                                ___s/ B. Scott Shipman___
                                                                B. Scott Shipman (ASB-8647-S82B)

OF COUNSEL FOR PLAINTIFF:
Shipman & Associates, P.C.
218 West Market Street
Athens, AL 35611
256-232-5262
shipman@shipmanlaw.org

                                              Jury Demand

        Plaintiff requests a trial by jury.
                                                                ___s/ B. Scott Shipman___
                                                                B. Scott Shipman (ASB-8647-S82B)

                                                   4
         Case 5:17-cv-01608-AKK Document 13 Filed 11/07/17 Page 5 of 5



OF COUNSEL FOR PLAINTIFF:
Shipman & Associates, P.C.
218 West Market Street
Athens, AL 35611
256-232-5262
shipman@shipmanlaw.org


                             CERTIFICATE OF SERVICE

        I hereby certify that on November 7, 2017, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notice to all Counsel of record:


     s/ John W. Sheffield
John W. Sheffield (ASB-7423-D62J)
JOHN W. SHEFFIELD, LLC
400 Union Hill Drive, Suite 350
Birmingham, AL 35209
613-7859
Fax: 327-3730
John.sheffield@outlook.com

     Robert Evans Sanders
Robert Evans Sanders (Miss. Bar #6446)
YOUNG WELLS WILLIAMS, PA
141 Township Ave. Suite 300
PO Box 6005
Ridgeland, MS 39158-6005
601-948-6100
Fax: 601-355-6136
rsanders@youngwells.com

                                                          ___s/ B. Scott Shipman___
                                                          B. Scott Shipman (ASB-8647-S82B)

OF COUNSEL FOR PLAINTIFF:
Shipman & Associates, P.C.
218 West Market Street
Athens, AL 35611
256-232-5262
shipman@shipmanlaw.org


                                               5
